          Case
           Case22-30987
                22-30987 Document
                          Document347
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                                                  TXSB onin07/12/22
                                                            TXSB Page
                                                                    Page131 of
                                                                            of 19
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                                                                                                   United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                           ENTERED
                               UNITED STATES BANKRUPTCY COURT                                              July 12, 2022
                                 SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                       HOUSTON DIVISION

                                                                    )
    In re:                                                          )   Chapter 11
                                                                    )
    ION GEOPHYSICAL CORPORATION, et al., 3                          )   Case No. 22-30987 (MI)
                                                                    )
                               Debtors.                             )   (Jointly Administered)
                                                                    )
                                                                    )

    ORDER (I) AUTHORIZING AND APPROVING THE SETTLEMENT AGREEMENT
           BY AND BETWEEN ION GEOPHYSICAL CORPORATION AND
        INOVA GEOPHYSICAL, INC. AND (II) GRANTING RELATED RELIEF

             Upon the motion (“Motion”) 4 of the debtors and debtors in possession herein (collectively,

the “Debtors”) for entry of an order (this “Order”), pursuant to Sections 105(a) and 365(a) of the

Bankruptcy Code and Bankruptcy Rule 9019, approving that certain settlement by and among the

ION Geophysical Corporation, as debtor and debtor in possession, on behalf of itself and its

bankruptcy estate, and INOVA Geophysical, Inc. (the “Settlement Agreement”); and this Court

having jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334; and venue of these

chapter 11 cases and the Motion being proper in this district pursuant to 28 U.S.C. §§ 1408 and

1409; and this matter being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this

Court having authority to enter a final order on the Motion consistent with Article III of the United

States Constitution; and the Debtors having provided adequate notice under the circumstances and

no other or further notice being needed; and a reasonable opportunity to object or be heard

regarding the relief granted herein having been afforded pursuant to Bankruptcy Rule 6004(a); and


3
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.

4
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Motion.
       Case
        Case22-30987
             22-30987 Document
                       Document347
                                426 Filed
                                     Filedonin06/27/22
                                               TXSB onin07/12/22
                                                         TXSB Page
                                                                 Page142 of
                                                                         of 19
                                                                            7




 upon the record of the hearing, and all proceedings had before this Court; and this Court having

 found that the relief granted hereby is in the best interests of the Debtors, their estates, their

 creditors, and all other parties in interest; and the legal and factual bases set forth in the Motion

 and during the hearing on the Motion establishing just cause for the relief granted hereby; and no

 objections having been filed or voiced; after due deliberation and sufficient cause appearing

 therefor, it is HEREBY ORDERED, THAT:

         1.      The Settlement Agreement, a copy of which is attached to the Motion as Exhibit B,

      is approved in its entirety and its terms are incorporated fully herein as an order of this Court.

        2.      The Debtors are authorized and empowered to enter into and take any and all

 actions necessary to carry out and effectuate the terms, conditions, and provisions of the Settlement

 Agreement and this Order.

        3.      Nothing in this Order shall alter the terms and conditions of the Settlement

 Agreement.

        4.      The terms and conditions of this Order are immediately effective and enforceable

 upon its entry and for the avoidance of doubt, any stays provided for by the Federal Rules of

 Bankruptcy Procedure shall be, and hereby are, waived.

        5.      This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation of this Order.


Signed: July 12, 2022
         October  17, 2018
 Dated:                 , 2022
         Houston, Texas                                 UNITED STATES BANKRUPTCY JUDGE
                                                       ____________________________________
                                                                     Marvin Isgur
                                                           United States Bankruptcy Judge




                                                   2
Case
 Case22-30987
      22-30987 Document
                Document347
                         426 Filed
                              Filedonin06/27/22
                                        TXSB onin07/12/22
                                                  TXSB Page
                                                          Page153 of
                                                                  of 19
                                                                     7




                               Exhibit B

                         Settlement Agreement
Case
 Case22-30987
      22-30987 Document
                Document347
                         426 Filed
                              Filedonin06/27/22
                                        TXSB onin07/12/22
                                                  TXSB Page
                                                          Page164 of
                                                                  of 19
                                                                     7
Case
 Case22-30987
      22-30987 Document
                Document347
                         426 Filed
                              Filedonin06/27/22
                                        TXSB onin07/12/22
                                                  TXSB Page
                                                          Page175 of
                                                                  of 19
                                                                     7
Case
 Case22-30987
      22-30987 Document
                Document347
                         426 Filed
                              Filedonin06/27/22
                                        TXSB onin07/12/22
                                                  TXSB Page
                                                          Page186 of
                                                                  of 19
                                                                     7
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 Case22-30987
      22-30987 Document
                Document347
                         426 Filed
                              Filedonin06/27/22
                                        TXSB onin07/12/22
                                                  TXSB Page
                                                          Page197 of
                                                                  of 19
                                                                     7
